
PER CURIAM:
Writ granted. The case is remanded to the district court for merits consideration. Applicant's claimed violation of Brady v. Maryland , 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963), overcomes the procedural bars of La.C.Cr.P. arts. 930.4(E) and 930.8(A) pursuant to the exception set out in La.C.Cr.P. art. 930.8(A)(1). See State ex rel. Cormier v. State , 98-2111 (La. 12/18/98), 731 So.2d 274 ("[T]he discovery of new evidence excepting a claim from the prescriptive period of La.C.Cr.P. art. 930.8 would necessarily except a claim from the repetitiveness bars of La.C.Cr.P. art. 930.4 ....").
